                        IN THE LINITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                    CHARLOTTE DIVISION

                                CRIMINAL NO.: 3:i6cr303-RJC

UNITED STATES OF AMERICA                             )
                                                     )         CONSENT ORDER AND
       V.                                            )       JUDGMENT OF FORFEITURE
                                                     )         PENDING RULE 32.2(c)(2)
(2) LACEDRTC MCMILLON                                )


        BASED UPON the Defendant's plea of guilty and finding that there is a nexus between
the property listed below and the offense(s) to which the Defendant has pled guilty and that the
Defendant (or any combination of Defendants in this case) has or had a possessory interest or other
legal interest in the property, IT IS HEREBY ORDERED THAT:

       l.     The following property is forfeited to the United States pursuant to 18 U.S.C . 5 924
and/or 28 U.S.C. S 2461(c), provided, however, that forfeiture of specific assets is subject to any
and all third party petitions under    2l U.S.C. $ 853(n), pending final adjudication herein:

   . One Beretta, model BU9 Nano,9mm caliber pistol
   o One Kimber, model Stainless, .45 caliber pistol
   o One Kimber, model Raptor II, .45 caliber pistol
   o One Kel-Tec, CNC Industries,Inc., model PLR-16,5.56x45 caliber pistol
   o One Ruger, model SR1911, .45 caliber pistol
   o One Ruger, model American Pistol,9mm pistol
   o One Sig Sauer, model 1911 R,.45 caliber pistol
   o One Sig Sauer, model P220,.45 caliber pistol
   o One Sig Sauer, model P227,.45 caliber pistol
   o One Sig Sauer, model P250,.45 caliber pistol
   o One Smith & Wesson, model M&P Shield,9mm pistol
   o One Smith &Wesson, model SD9VE,9mm pistol
   o One Smith & Wesson, model M&P 9,9mm pistol
   o Three HS Products, model XDM,9mm pistols
   o Two Taurus, model PT92,9mm pistols
   . One Romarm/Cugir, model WASR,7.62x39mm rifle
   o One Beretta USA Corp, model ARX100, .223 caliber rifle
   . One RND Manufacturing, model 400, .223 caliber rifle
   o One CZ, model Scorpion EVO 3 S1, 9mm caliber pistol
   o One Diamondback Arms,Inc., model DB-15, 5.56x45 caliber rifle
   o One Smith & Wesson, model M&P 15 TS,5.56x45 caliber rifle
   o One Kriss USA Inc., model Kriss Vector CRB, .45 caliber short-barrled rifle



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           2. The United States Marshals Service, the investigative agency, andlor the agency
    contractor is authorized to take possession and maintain custody of the above specific asset(s).

            3.     If and to the extent required by Fed. R. Crim. P.32.2(b)(6),21 U.S.C. $ 853(n),
    and/or other applicable law, the United States shall publish notice and provide direct written notice
    of forfeiture.

            4. Any person, other than the Defendant, asserting any legal interest in the property
    may, within thirty days of the publication of notice or the receipt of notice, whichever is earlier,
    petition the court for a hearing to adjudicate the validity of the alleged interest.

            5. Pursuant to Fed. R. Crim. P.32.2(b)(3), upon entry of this order, the United States
    Attorney's Office is authorized to conduct any discovery needed to identifo, locate, or dispose of
    the property, including depositions, interrogatories, and request for production of documents, and
    to issue subpoenas pursuant to Fed. R. Civ. P. 45.

            6.      As to any specific assets, following the Court's disposition of alltimely petitions,
    a final order of forfeiture shall be entered. If no third party files a timely petition, this order shall
    become the final order of forfeiture, as provided by Fed. R. Crim. P.32.2(c)(2), and the United
    States shall have clear title to the property, and shall dispose of the property according to law.

             The parties stipulate and agree that the aforementioned asset(s) constitute property derived
    from or traceable to proceeds of Defendant's crime(s) herein or property used in any manner to
    facilitate the commission of such offense(s) and are therefore subject to forfeiture pursuant to 18
    U.S.C. $ 924 andlor 28 U.S.C. S 2461(c). The Defendant hereby waives the requirements of Fed.
    R. Crim. P.32.2 and 43(a) regarding notice of the forfeiture in the charging instrument,
    announcement of the forfeiture at sentencing, and incorporation of the forfeiture in the judgment
    against Defendant. If the Defendant has previously submitted a claim in response to an
    administrative forfeiture proceeding regarding any of this property, Defendant hereby withdraws
    that claim. If Defendant has not previously submitted such a claim, Defendant hereby waives all
    right to do so. As to any firearms listed above and/or in the charging instrument, Defendant
    consents to destruction by federal, state, or local law enforcement authorities upon such legal
    process as they, in their sole discretion deem to legally sufficient, and waives any and all right to
    further notice ofsuch process or such destruction.


    JILL WESTMORELAND ROSE
    TJNITED STATES ATTORNEY

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    J                                                         ACEDRIC MCMILLON
    Assistant                                               Defendant
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                                         /.,.QXN*
                                          PETER ADOLF, ESQ.
                                          Attorney for Defendant




Signed this the   day ofFebruary,2017.




                                     UNITED   STATES                     JUDGE




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